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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

 IN RE:
 THAKORJI, INC.,                                                 CHAPTER 11
 d/b/a Comfort Suites Stonecrest,                            CASE NO. 18-70018-SMS
       Debtor.
                                                                   JUDGE SIGLER

 THAKORJI, INC.,
    Plaintiff                                              ADVERSARY PROCEEDING
 v.                                                           NO. 21-___________
 WESLEY DOWDY and
 DUKE HOSPITALITY, LLC,
    Defendants


      COMPLAINT TO REQUIRE TURNOVER OF PROPERTY OF THE ESTATE,
              FOR INJUNCTIVE RELIEF, AND FOR DAMAGES


       COMES NOW Thakorji, Inc., Debtor and Debtor-in Possession who, by and through

counsel of record, files the Complaint to Require Turnover of Property of the Estate, Injunctive

Relief and for Damages, respectfully showing this Court the following:

                            THE PARTIES AND JURISDICTION

   1. Thakorji, Inc. (“Thakorji” or “Debtor”) commenced this Chapter 11 bankruptcy case by
       the filing of a voluntary petition for relief on November 30, 2018.

   2. Debtor’s business consists of operating a fully functioning 83 room hotel in
       Lithonia/Stonecrest, Georgia operated under the franchise and brand of Comfort Suites.

   3. No trustee has been appointed, and Thakorji remains the Debtor-in Possession.
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  4. As Debtor-in-Possession, Thakorji has powers and rights of a trustee serving in a case
     under Chapter 11, including the right to recover property of the estate.

  5. Wesley Dowdy is a natural person who resides at 1688 Lakeview Drive, Young Harris,
     Georgia 30582. Wesley Dowdy is subject to the jurisdiction of this Court and may be

     served with summons and complaint by first class U.S. mail at his dwelling house or

     usual place of abode or to the place where he regularly conducts a business or profession

     as pursuant to Bankruptcy Rule 7004(b)(1).

  6. Duke Hospitality, LLC (“Duke Hospitality”) is a Georgia Limited Liability Company,
     whose registered agent is Ward Council, and whose registered office is 896 Ashebrooke

     Way, NE, Marietta, Georgia 30068. Duke Hospitality may be served with summons and

     complaint by service upon is managing or general agent, or to any other agent authorize

     by appointment to receive process, pursuant to Bankruptcy Rule 7004(b)(3).

  7. This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§157, 1334.

  8. This is a Core Proceeding within the meaning of 28 U.S.C. §157(b)(2).

  9. Venue is proper in this District pursuant to 28 U.S.C §§ 1408, 1409.

          MATERIAL EVENTS PRECEDING FEBRUARY 19, 2021

  10. Prior to the commencement of this Case, Dhansukh Patel was the CEO of Thakorji. and
     the majority shareholder of Thakorji, as reported in the Statement of Financial Affairs

     filed in this Case [Doc. No.29].

  11. At the time this Case was commenced, there were four shareholders of the Debtor:
     Dhansukh Patel 55% (550), Naresh Patel 15% (150), Urmilla Patel 15% (150) and Amit

     Patel 15% (150) [Doc. No. 29].
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  12. At the time this Case was commenced, the Directors of Thakorji approved Wesley
     Dowdy to serve as the Managing Agent for Debtor in this Chapter 11 Case [Doc. No.

     1.1].

  13. Wesley Dowdy resigned as Managing Agent effective May 31, 2020 and Dhansukh Patel,
     CEO of Thakorji, was restored all duties and responsibilities of managing and reporting

     for Debtor effective June 1, 2020.

  14. Wesley Dowdy, in his capacity of Managing Agent, signed the Petition and Schedules
     initially filed in this Case, participated in the Initial Debtor Interview with the U.S.

     Trustee and testified for the Debtor at the Section 341 Meeting of Creditors. When he

     verified the Schedules, Wesley Dowdy scheduled Duke Hospitality, LLC (“Duke

     Hospitality”) as having a liquidated, undisputed, non-contingent claim in the amount of

     $381,820.14 and signed the schedules under penalty of perjury [Doc. No. 1].

  15. Wesley Dowdy, as Managing Agent of the Debtor, utilized employees of Duke
     Hospitality to provide services to the Debtor, including payroll, preparation of Monthly

     Operating Reports, and processing insurance claims.

  16. Duke Hospitality is an entity over which Wesley Dowdy exercises control and in which,
     at the time of commencement of this Case, Dhansukh Patel held an equity interest.

  17. At or around the time that Wesley Dowdy abandoned management duties of Debtor to
     Dhansukh Patel, Duke Hospitality divested Dhansukh Patel of his equity interest in Duke

     Hospitality.

  18. When he resumed management responsibilities of the Debtor, Dhansukh Patel
     discontinued the use of any employees of Duke Hospitality.
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  19. When he resumed management responsibilities of the Debtor, Dhansukh Patel reviewed
     the financial records provided by Wesley Dowdy and by Duke Hospitality and was

     unable to reconcile certain payments made by Wesley Dowdy and Duke Hospitality with

     expenses of the Debtor, could not account for insurance proceeds received by the Debtor,

     and had questions regarding the validity of certain payments to Duke Hospitality and

     other charges reported on Monthly Operating Reports prepared by Wesley Dowdy or by

     Duke Hospitality employees which were filed in this Case.

  20. Debtor applied to this Court [Doc.No. 158], and this Court entered and Order [Doc. No.
     159] authorizing Debtor to employ John Christy and the law firm of Shreeder, Wheeler

     and Flint, LLP as litigation counsel to investigate and, if appropriate, to commence

     proceedings to recover amounts from Duke Hospitality or from other entities.

  21. Debtor applied to this Court for an order directing Duke Hospitality to produce
     documents and appear for a Bankruptcy Rule 2004 examination of Duke Hospitality

     [Doc. No. 169], and this Court entered and Order approving the examination on

     November 17, 2020 [Doc No. 171].

  22. Duke Hospitality designated Wesley Dowdy as the representative to be examined
     pursuant to the Order of this Court.

  23. The examination of Duke and Wesley Dowdy was rescheduled on multiple occasions at
     the request of Wesley Dowdy, Duke Hospitality, and Cary Ichter, counsel for Wesley

     Dowdy and Duke Hospitality.

  24. It was agreed by all parties that the 2004 Examination Wesley Dowdy would take place
     on February 19, 2021 beginning at 9:30 a.m.
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  25. At all times relevant to the attempted examination of Wesley Dowdy and Duke
     Hospitality was represented and advised by attorney Cary Ichter.

  26. As demonstrated below, the examination of Duke Hospitality and Wesley Dowdy did not
     take place at 9:30 a.m. on February 19, 2021.

                             THE EVENTS OF FEBRUARY 19, 2021

  27. On February 19 2021, at 9:53 a.m. Debtor’s counsel received a telephone call from
     Wesley Dowdy and attorney Cary Ichter informing counsel that the Board of Directors of

     Thakorji held a meeting and, at that meeting, the Directors (1) removed Dhansukh Patel

     as President of Thakorji, (2) appointed Wesley Dowdy as President of Thakorji, (3) voted

     to issue 1500 additional shares of stock in Thakorji, and (4) sold the additional shares of

     stock in Thakorji to Duke Hospitality. The purchase price for said shares was $3.00 per

     share.

  28. On February 19, 2021, Wesley Dowdy and Duke Hospitality took the following action to
     assume control over the Debtor:

     (i)      Convened a meeting of the Board of Directors of Thakorji, at which time Wesley

              Dowdy moved the Directors to remove Dhansukh Patel as president, installed

              Wesley Dowdy serve as interim President, issue 1,500 additional shares of stock

              in Thakorji, which were open to bid only by the Directors then present, and

              authorized the sale if the 1,500 newly authorized shares in Thakorji to Duke

              Hospitality at $3.00 per share. A copy of the Minutes of Special Meeting of

              Directors of Thakorji, Inc. is annexed hereto as Exhibit A;

     (ii)     Filed a registration of Thakorji with the Secretary of State of Georgia, changing

              the registered agent from Dhansukh Patel to attorney Ward Council, and naming
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               Wesley Dowdy CEO, attorney Cary Ichter as Secretary, and Urmilla Patel as CFO

               of Thakorji, a copy of which is annexed hereto as Exhibit B;

     (iii)     Notified Oconee State Bank to remove Dhansukh Patel as signatory, and allow

               Wesley Dowdy to take control of the Debtor in Possession Account. Copy of the

               notice is annexed hereto as Exhibit C;

     (iv)      Forcibly broke into the offices of Thakorji, CEO Dhansukh Patel at Debtor’s

               Hotel located at 7910 Mall Ring Road in Stonecrest, Georgia, and removed

               financial and other records, privileged communications, and other property of

               Thakorji.

  29. At all times relevant to the actions in the preceding paragraph, Wesley Dowdy, Duke
     Hospitality was represented and advised by attorney Cary Ichter.

  30. Dhansukh Patel and other shareholders of Thakorji dispute the validity of the action taken
     to remove Dhansukh Patel as an officer and director and to issue additional shares in

     Thakorji for multiple reasons, including the following:

     a. The articles of incorporation filed with the Georgia Secretary of State allow for the

            issuance of only 1,000 shares of stock in Thakorji, and all of those shares were

            previously issued; the corporation cannot issue more shares without first amending

            the Articles of Incorporation. A copy of the Articles of Incorporation filed with the

            Georgia Secretary of State are annexed hereto as Exhibit D.

     b. Notice of the meeting of directors on February 19, 2021 did not comport to the

            requirements for notice in the Bylaws of Thakorji; to wit, notice must be given in

            writing not less than two days before the scheduled meeting, or orally at least one day

            before the scheduled meeting. A copy of the Bylaws of Thakorji are annexed hereto
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         as Exhibit E. See: Article III, Section 4(b). Dhansukh Patel, a director, was not

         given notice orally until the day of the scheduled meeting and written notice was not

         postmarked February 18, 2021; the day before the scheduled meeting. A copy of the

         notice and envelope directed to Dina Patel are annexed hereto as Exhibit F.

     c. The issuance of additional shares of the Debtor, without first amending the Articles of

         Incorporation and without first seeking approval from this Court, is ultra vires and is

         a nullity.

     d. The sale of shares at $3.00 per share is grossly undervalued and a fraudulent transfer;

  31. The lawful shareholders of Debtor executed a Unanimous Written Consent and Waiver of
     Meeting of Shareholders of Thakorji effective 12:00 noon on February 19, 2021 and, at

     that time, elected a board of directors consisting of Dhansukh Patel, Naresh Patel and

     Amit Patel; all of whom are shareholders of Thakorji. A true and correct copy of the

     Unanimous Written Consent and Waiver of Meeting of the Shareholders of Thakorji, Inc.

     dismissing the current Board of Directors and electing Dhansukh Patel, Amit Patel and

     Naresh Patel as directors of Thakorji is annexed hereto as Exhibit G. Also, at 12:00

     noon on February 19, 2021, the Directors of Thakorji executed a Unanimous Written

     Consent and Waiver of Meeting of the Directors of Thakorji, Inc. in which the Board

     dismissed the then current officers and designated Dhansukh Patel as President and Usha

     Patel as Secretary of Thakorji. A true and correct copy of the Unanimous Written

     Consent and Waiver of Meeting of the Directors of Thakorji, Inc. is annexed hereto as

     Exhibit H.
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                                       COUNT I
                          TURNOVER OF PROPERTY OF THE ESTATE

  32. Property of this Chapter 11 estate includes all legal or equitable interests of the debtor in
     property as of the commencement of the case and any interest in property that the estate

     acquires after the commencement of the case. 11 U.S.C. §541(a)(1),

  33. Property removed from the office of Dhansukh Patel at 7910 Mall Ring Road in
     Stonecrest, Georgia by Wesley Dowdy and Duke Hospitality on February 19, 2021 is

     property of the Chapter 11 estate.

  34. Property removed from the office of Dhansukh Patel by Wesley Dowdy and Duke
     Hospitality on February 19, 2021 contains communications between an officer of the

     Debtor and legal counsel, which are privileged communications under Georgia law and

     under federal law.

  35. Neither Wesley Dowdy nor Duke Hospitality had any lawful right to enter the office and
     remove any of the property or correspondence removed from the offices of Dhansukh

     Patel on, or after, February 19, 2021, and Debtor seeks the entry of an order requiring

     Wesley Dowdy and Duke Hospitality to immediately return all property removed from

     the offices of Dhansukh Patel on or after February 19, 2021.

  36. If this Court should find that Wesley Dowdy had a lawful claim to remove any of the
     property from the offices of Dhansukh Patel on, or after, February 19, 2021, then Wesley

     Dowdy is merely a custodian of that property, and must turnover all such property

     pursuant to 11 U.S.C. §543(b).
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                                            COUNT II
                                       INJUNCTIVE RELIEF

  37. As stated hereinabove, the action taken by Wesley Dowdy and Duke Hospitality was
     ultra vires and in violation of bankruptcy law, there is a substantial likelihood that Debtor

     will prevail on the merits.

  38. Debtor has been operating profitably recent months since Dhansukh Patel has resumed
     management responsibilities on June 1 of 2021. When Wesley Dowdy’s position of

     Managing agent of Debtor was terminated on May 31, 2020, there was $55,917.00 on

     deposit in the Debtor-in Possession account [Doc. No. 143] after having operated

     Debtor’s Hotel in Chapter 11 for more than 18 months. Under the management of

     Dhansukh Patel, there was $269,240 in the Debtor-in Possession account as of January

     31, 2021 [Doc. No. X].

  39. Debtor must file a Plan of Reorganization in this Case no later than March 31, 2021
     pursuant to Order entered in this Case [Doc. No. 173], and is in the process of developing

     such a Plan.

  40. Dhansukh Patel personally guaranteed the obligations of Debtor to Oconee State Bank in
     an amount exceeding $6,000,000 [Claims No. 3, 4, 5], and has personally guaranteed the

     obligations of Debtor to Choice Hotels International, the franchisor of Debtor, and has a

     vested interest in a successful reorganization of Thakorji.

  41. Wesley Dowdy has not guaranteed any of the financial obligations of Debtor, and has no
     vested interest in furthering the successful reorganization of Debtor.
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  42. Attempts by Wesley Dowdy to wrestle control of Thakorji from its rightful management,
     if not otherwise unlawful, threatens the successful reorganization of Debtor at this late

     hour of the Chapter 11 proceedings.

  43. Attempts by Wesley Dowdy to access funds on deposit in the Debtor-in Possession
     account pose a significant risk to the Chapter 11 estate and to reorganization.

  44. Debtor will be irreparably harmed if injunction does not issue.

  45. Oconee State Bank is the primary secured lender, having filed claims in excess of
     $6,000,000 and having a lien on cash collateral, and also being the depository for the

     Debtor-in Possession account in this Case, has been notified by Wesley Dowdy to remove

     Dhansukh Patel as a signatory on the DIP Account, and Counsel for Oconee State Bank

     has indicated it will maintain the status quo until this matter can be expeditiously brought

     before this Court. See Exhibit C.

  46. The primary function of a preliminary injunction is to preserve the status quo until a final
     hearing is held. Morse Seed Co. v. Food Corn, Inc., 729 F.2d 589 (8th Cir. 1984). The

     purpose of a preliminary injunction is to prevent threatened wrong or any further

     perpetration of injury. Benson Hotel Corp. v. Woods, 168 F.2d 694(8th Cir. 1984).

  47. There are four factors for this court to consider in deciding whether to enter a preliminary
     injunction: (i) whether Debtor can demonstrate a substantial likelihood of success on the

     merits, (ii) whether irreparable injury will be suffered unless injunction issues, (iii)

     whether the threatened injury to the movant outweighs whatever damage the proposed

     injunction may cause the opposing party, and (iv) if issued, whether the injunction would

     not be adverse to the public interest. USF Federal Credit Union v. Gateway Radiology

     Consultants, 983 F.3d 1239 (11th Cir. 2020).
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  48. As stated in the preceding paragraphs, actions taken by Wesley Dowdy and Duke
     Hospitality to take control of the Debtor were in violation of the Bylaws of Thakorji,

     were non-compliant with the Articles of Incorporation of Thakorji, and attempted to

     transfer ownership control by issuing share of stock without a determination of the value

     of such stock and without approval from this Court. These facts weigh heavily in favor

     of a finding that Debtor is likely to prevail on the merits of its claims.

  49. If the Court does not enjoin Wesley Dowdy and Duke Hospitality from interfering the
     with operation, finances, and management of the Debtor, Debtor will be unable to prepare

     a Plan of Reorganization to be timely filed with the Court, and efforts to reorganize will

     fail. Debtor will be irreparably harmed in the absence of injunctive relief.

  50. The harm to Debtor, Debtor’s creditors, and Debtor’s equity holders far outweighs any
     damage that Wesley Dowdy or Duke Hospitality may be caused by issuance of an

     injunction.

  51. The issuance of injunctive relief will not be adverse to the public interest, which interest
     is primarily the lodging and other accommodations to guests comprised of the general

     public.

  52. In order to preserve the status quo, Debtor seeks the immediate entry of a Preliminary
     Injunction pursuant to Fed.R.Civ.P. 65(a), applicable to this contested matter pursuant to

     Bankruptcy Rule 7065, prohibiting Wesley Dowdy, Duke Hospitality, and the agents,

     employees, and attorneys for either Wesley Dowdy or Duke Hospitality from interfering

     with the management, operation, finances, and administration of Debtor.

  53. In the alternative, Debtor requests that this Court exercise its equitable powers to issue
     any order, process, or judgment that is necessary or appropriate to carry out the
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     provisions of this title to protect the assets and determine the management of Debtor

     pursuant to 11 U.S.C. §105(a).

                                            COUNT III
                                            DAMAGES

  54. Duke Hospitality, having asserted a claim in this Case in the amount of $381,820.14, and
     now attempting to acquire a controlling equity interest in the Debtor for payment of

     $4,500.00, is attempting to, and has taken an act to obtain possession of property of the

     state and exercise control over property of the Estate in violation of the Automatic Stay,

     11 U.S.C. §362(a).

  55. Duke Hospitality and Wesley Dowdy implemented a scheme to wrestle control of Debtor
     in order to avoid giving testimony concerning financial irregularities that could be

     harmful or incriminating to Duke Hospitality and Wesley Dowdy.

  56. Duke Hospitality and Wesley Dowdy have interfered with the lawful administration of
     this bankruptcy Case.

  57. Duke Hospitality and Wesley Dowdy have converted Property of the Chapter 11 Estate.

  58. The actions of Wesley Dowdy and Duke Hospitality were taken in bad faith, and resulted
     in monetary damages to Debtor.

  59. Violation of the Automatic Stay and bad faith interference with the lawful operation of
     the Debtor give rise to the recovery of damages from Wesley Dowdy and from Duke

     Hospitality.

  60. The conduct of Duke Hospitality and Wesley Dowdy is unconscionable and violates the
     provisions of the Bankruptcy Code, and Debtor seeks the entry of a judgment for
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      monetary damages against Duke Hospitality and Wesley Dowdy in an amount to be

      determined by the trier of fact.

      WHEREFORE, Thakorji, Inc. prays for the following relief:

 (1) The entry of an order requiring Wesley Dowdy and Duke Hospitality to immediately return

     to Debtor all property and information removed from the offices of Dhansukh Patel on or

     after February 19, 2021 together with all copies, duplicates and electronic versions saved;

 (2) The entry of a preliminary injunction prohibiting Wesley Dowdy, Duke Hospitality, their

     employees, officers, agents and attorneys, from interfering with the operation, finances,

     and management of Debtor;

 (3) Entry of a judgment for monetary damages against Wesley Dowdy and Duke Hospitality

     arising from and relating to their participation in the unlawful violation of the corporate

     charter and by-laws of Thakorji;

 (4) Entry of a judgment for monetary damages against Wesley Dowdy and Duke Hospitality

     for damage to property of Thakorji;

 (5) Entry of a judgment awarding Debtor all costs and fees associated with the preparation and

     prosecution of this Adversary Proceeding; and.

 (6) This Court grant Debtor such other and further relief as is just and equitable.


                                                     Counsel for Debtor

                                                      /S/ Edward F. Danowitz
                                                     Edward F. Danowitz
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